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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Vegas199.com, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1771 E. Flamingo Rd., #100A
                                  Las Vegas, NV 89119
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Vegas199.com, LLC                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5614

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Vegas199.com, LLC                                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Vegas199.com, LLC                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 11, 2019
                                                  MM / DD / YYYY


                             X   /s/ Douglas Douglas                                                      Douglas Douglas
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Zachariah Larson                                                      Date June 11, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Zachariah Larson 7787
                                 Printed name

                                 LARSON ZIRZOW & KAPLAN, LLC
                                 Firm name

                                 850 E. Bonneville Ave.
                                 Las Vegas, NV 89101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     702-382-1170                  Email address      zlarson@lzklegal.com

                                 7787 NV
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Vegas199.com, LLC
 United States Bankruptcy Court for the: DISTRICT OF NEVADA                                                                                           Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 GM Financial                                                    2019 Z06 Corvette Disputed                         $170,945.00                        $0.00            $170,945.00
 Attn: Bankruptcy
 Dept/Managing
 Agent
 P.O. Box 183593
 Arlington, TX
 76096-3834
 Everest Business                                                Loan                                                                                                   $150,000.00
 Funding
 5 West 37th Street,
 St. 1000
 New York, NY 10018
 Wells Fargo Dealer                                              2019 ZRI Corvette      Disputed                    $126,161.78                        $0.00            $126,161.78
 Services
 Attn: Bankruptcy
 Dept/Managing
 Agent
 P.O. Box 25341
 Santa Ana, CA
 92799-5341
 Celtic Bank                                                     Term Loan and          Disputed                    $100,000.00                        $0.00            $100,000.00
 268 S. State Street                                             Security
 Suite 300                                                       Agreement
 Salt Lake City, UT
 84111
 Kabbage Business                                                Loan                                                                                                     $50,000.00
 Loan
 Attn: Bankruptcy
 Dept/Managing
 Agent
 P.O. Box 77081
 Atlanta, GA 30357




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Vegas199.com, LLC                                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cox Business                                                    Vendor                                                                                                     $2,934.98
 Attn: Bankruptcy
 Dept/Managing
 Agent
 PO Box 53262
 Phoenix, AZ
 85072-3262
 Spectrum Business                                               Vendor                                                                                                       $249.99
 Solutions, Inc.
 Attn: Bankruptcy
 Desk/Managing
 Agent
 4145 S. Falkenberg
 Rd.
 Riverview, FL
 33578-8652
 Cox Business                                                    Vendor                                                                                                       $175.00
 Attn: Bankruptcy
 Dept/Managing
 Agent
 PO Box 53262
 Phoenix, AZ
 85072-3262




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      Vegas199.com, LLC                                                                         Case No.
                                                                                    Debtor(s)         Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       June 11, 2019                                              /s/ Douglas Douglas
                                                                        Douglas Douglas/Manager
                                                                        Signer/Title




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Vegas199.com, LLC Case 19-13720-mkn Zachariah
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                                                                              Internal 8 of 10 Service
1771 E. Flamingo Rd., #100A         LARSON ZIRZOW & KAPLAN, LLC               Attn: Bankruptcy Dept/Managing Agent
Las Vegas, NV 89119                 850 E. Bonneville Ave.                    P.O. Box 7346
                                    Las Vegas, NV 89101                       Philadelphia, PA 19101
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Clark County Treasurer                 Clark County Assessor                  Dept. of Empl, Training & Rehab
c/o Bankruptcy Clerk                   c/o Bankruptcy Clerk                   Employment Security Division
500 S. Grand Central Pkwy              500 S. Grand Central Pkwy              500 East Third Street
P.O. Box 551220                        Box 551401                             Carson City, NV 89713
Las Vegas, NV 89155                    Las Vegas, NV 89155

Nevada Dept. of Taxation               Social Security Administration         Celtic Bank
Bankruptcy Section                     Attn: Bankruptcy Desk/Managing Agent   268 S. State Street
555 E. Washington Avenue #1300         PO Box 33021                           Suite 300
Las Vegas, NV 89101                    Baltimore, MD 21290-3021               Salt Lake City, UT 84111


Cox Business                           Everest Business Funding               GM Financial
Attn: Bankruptcy Dept/Managing Agent   5 West 37th Street, St. 1000           Attn: Bankruptcy Dept/Managing Agent
PO Box 53262                           New York, NY 10018                     P.O. Box 183593
Phoenix, AZ 85072-3262                                                        Arlington, TX 76096-3834


Kabbage Business Loan                  Spectrum Business Solutions, Inc.      Wells Fargo Dealer Services
Attn: Bankruptcy Dept/Managing Agent   Attn: Bankruptcy Desk/Managing Agent   Attn: Bankruptcy Dept/Managing Agent
P.O. Box 77081                         4145 S. Falkenberg Rd.                 P.O. Box 25341
Atlanta, GA 30357                      Riverview, FL 33578-8652               Santa Ana, CA 92799-5341


Bluevine Capital, Inc.                 Camden Glendale Apartments LLC         Central Plaza LLC
Attn: Bankruptcy Dept/Managing Agent   3900 San Fernando Rd.                  Attn: Bankruptcy Dept/Managing Agent
401 Warren St., Ste. 300               Glendale, CA 91204                     3450 Wilshire Blvd. #1200
Redwood City, CA 94063                                                        Los Angeles, CA 90010


Charles Dunn Re Serv Inc.              MZ Properties                          Upland Square LLC
800 W. 6th, Ste. 600                   1771 E. Flamingo #113A                 6450 Spring Mountain Rd., Ste. 12
Los Angeles, CA 90017                  Las Vegas, NV 89119                    Las Vegas, NV 89146
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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      Vegas199.com, LLC                                                                              Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Vegas199.com, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 11, 2019                                                         /s/ Zachariah Larson
 Date                                                                  Zachariah Larson 7787
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Vegas199.com, LLC
                                                                       LARSON ZIRZOW & KAPLAN, LLC
                                                                       850 E. Bonneville Ave.
                                                                       Las Vegas, NV 89101
                                                                       702-382-1170 Fax:702-382-1169
                                                                       zlarson@lzklegal.com




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